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                  EXHIBIT 1
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         NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
      California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on
      opinions not certified for publication or ordered published, except as specified by rule
      8.1115(b). This opinion has not been certified for publication or ordered published for
      purposes of rule 8.1115.


      IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                                                                       &28572)$33($/²6(&21'',67
                            SECOND APPELLATE DISTRICT

                                          DIVISION FIVE
                                                                                            Jun 25, 2024
                                                                                          (9$0F&/,172&., Clerk

      SEAN STOFFEL et al.,                                       B320813                   kdominguez         Deputy Clerk



              Plaintiffs and Appellants,                         (Los Angeles County
                                                                 Super. Ct. No. JCCP5112)
              v.

      THE REGENTS OF THE
      UNIVERSITY OF CALIFORNIA,

              Defendant and Respondent.


            APPEAL from a judgment of the Superior Court of Los
      Angeles County, Yvette M. Palazuelos, Judge. Affirmed in part
      and reversed in part.
            Bursor & Fisher, Joel D. Smith; Pearson Warshaw, Daniel
      L. Warshaw, and Neil Swartzberg for Plaintiffs and Appellants.
            Reed Smith, Raymond A. Cardozo, and Brian A.
      Sutherland for Defendant and Respondent.
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            Plaintiffs and appellants Andrew Pham, Ashley Chen, and
      Maribelle Assaad Boutros (plaintiffs) were students at various
      University of California campuses in March 2020 when the
      campuses transitioned to providing solely remote instruction as a
      result of the COVID-19 pandemic. Plaintiffs sued defendant and
      respondent The Regents of the University of California (the
      Regents) alleging they were entitled to a refund of a portion of
      the tuition and fees they paid for the academic sessions that were
      conducted remotely because the Regents breached an implied
      contract to provide an in-person, on-campus education. We
      consider whether the trial court correctly sustained the Regents’
      demurrer without leave to amend, and this task principally
      requires an assessment of whether plaintiffs adequately allege
      the Regents’ actions and statements amount to a “specific
      promise” (Kashmiri v. Regents of University of California (2007)
      156 Cal.App.4th 809, 826) of an in-person, on-campus education.

                             I. BACKGROUND
            A.    The University of California, Plaintiffs, and the
                  COVID-19 Pandemic1
                  1.    The University of California and its marketing
            The University of California is a public university system
      with ten university campuses: UC Berkeley, UC Davis, UC
      Irvine, UCLA, UC Merced, UC Riverside, UC San Diego (UCSD),
      UC San Francisco, UC Santa Barbara (UCSB), and UC Santa


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            We summarize the facts as alleged in the complaint and as
      judicially noticed by the trial court. (Larson v. UHS of Rancho
      Springs, Inc. (2014) 230 Cal.App.4th 336, 340, fn. 2.)




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      Cruz (collectively, the UC System). The UC System has
      consistently educated its students on campus since its founding
      in 1868.
             The campuses that make up the UC System are, in the
      aggregate, spread across approximately 66,000 acres of land that
      house numerous buildings including lecture halls, science labs,
      and other classrooms. The UC System also provides on-campus
      services to students: campus libraries, student centers, gyms,
      counseling centers, health clinics, and sports complexes.
             Prior to the COVID-19 pandemic, the UC System marketed
      and admitted students to its in-person, on-campus education
      program separately from online education programs it also
      offered. The UC System makes available to students 840
      undergraduate majors and 600 graduate degree programs that
      were taught in-person and on-campus. The UC System’s online
      courses do not include any online degree programs.
             The UC System’s marketing materials are a primary
      means through which it targets prospective students. In the
      years preceding the onset of the COVID-19 pandemic, the
      marketing materials for various UC System campuses touted the
      benefits of attending school on campus. For example, marketing
      materials for UCLA stated, “Learning occurs not only in the
      classroom, but also through engagement in campus life and in
      communities and organizations beyond the university. [¶]
      Living here is part of the experience. All of the residence halls
      are within a couple minutes . . . walk of each other—with classes
      not much farther than that.” UCSD’s materials promoted its
      “academic programs . . . focused on linking classroom instruction
      with relevant, real-world experiences . . . ”; touted the benefits of
      “get[ting] connected to a life beyond the classroom” and “getting




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      engaged on campus”; and proclaimed it “offer[ed] unique campus-
      wide events . . . .” UCSB’s materials asserted, “[c]lassroom
      learning is only part of a great education! The other half is
      undergraduate research in labs, libraries, studios, and in the
      field—hands-on experiences that will give you an extra edge
      when you apply for graduate school or a great job after
      graduation.” UC Merced’s materials similarly asserted, “UC
      Merced undergraduates experience education inside and outside
      the classroom.” UC Irvine’s materials stated “[i]ndependent
      research in laboratories, field study, participation in writing
      workshops, and in arts production are normal elements of the
      UCI experience.” Many of the materials also touted the benefits
      of joining campus student organizations.
             Students enrolling in UC System schools viewed course
      catalogs to make course selections and register for classes. The
      course catalogs provided students with information regarding the
      courses offered, including the building and room number in which
      the courses were to be taught. For most, if not all, of the
      campuses, the course catalogs available electronically allowed
      students to filter their search so the results reflected either
      online courses or in-person courses. After students registered for
      classes, they received a schedule reflecting course details—again
      including the building and room number in which the course was
      to be taught.

                  2.    Plaintiffs enroll at UC System campuses
            Maribelle Assaad Boutros (Boutros) enrolled in a Bachelor
      of Arts degree program at UCSB in the Fall of 2016. During her
      academic sessions at UCSB prior to the onset of the pandemic,
      Boutros paid tuition and fees and received in-person instruction




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      and access to on-campus services. She registered for the Spring
      2020 session on February 18, 2020, and received a schedule that
      identified room locations for each of her courses. The course
      catalog she received for registration also identified room locations
      for classes. Boutros was billed for the Spring 2020 session on
      February 14, 2020, and paid for the session on February 27, 2020.
             Ashley Chen (Chen) enrolled in a Master of Science degree
      program in Business at UCLA in the Fall of 2019. During his
      academic sessions at UCLA prior to the onset of the pandemic,
      Chen paid tuition and fees and received in-person instruction and
      access to on-campus services. Chen registered for Spring 2020
      session classes at UCLA. The course catalog provided to Chen
      during registration identified the physical locations where the
      courses would be held. The schedule Chen received after
      registration stated, “all MSBA [Master’s of Science in Business
      Administration] classes are held on campus at UCLA.” On
      February 21, 2020, UCLA billed Chen for the Spring 2020
      session. Chen paid the Spring 2020 bill prior to attending
      classes.
             Andrew Pham (Pham) enrolled in a Bachelor of Science
      degree program at UCSD in the Fall of 2017, after the school
      promoted itself as providing an in-person and on-campus
      experience. During his academic sessions at UCSD prior to the
      onset of the pandemic, Pham paid tuition and fees and received
      in-person instruction and access to on-campus services. Pham
      registered for courses before the start of the session, and Pham’s
      course registration for Spring 2020 identified the physical
      locations where the courses would be held. Pham was charged
      for the Spring 2020 session and paid the charges prior to
      attending classes.




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             Plaintiffs were charged, and paid, tuition plus a variety of
      associated fees, which varied to some degree at the individual
      campuses.2 The fees at UCSD, for example, included a student
      services fee for “services that benefit the student and are
      complementary to . . . the instructional program,” a campus
      activity fee to support “student activities on campus,” a
      University Center fee to “[c]over[] construction and operation of
      the Student Centers,” a student transportation fee to support
      “mass-transit services to students,” a recreation fee to support
      “student recreation on campus,” and an ICA student activity fee
      to support “UCSD intercollegiate athletic teams.” Other UC
      schools similarly made representations about the nature of the
      services that students would receive in exchange for the fees.

                  3.     The COVID-19 pandemic and the change to
                         remote learning
             In early March 2020, Governor Gavin Newsom issued an
      executive order declaring a state of emergency in California
      related to the COVID-19 pandemic. Later that month, Governor
      Newsom issued an executive order requiring all individuals living
      in California to stay at home or in their place of residence with
      limited “essential services” exceptions.
             Shortly thereafter, the UC System began issuing directives
      to its students: requiring them to take classes online, strongly
      encouraging them to move off campus, asking them not to come


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             The student services fee is a UC System-wide fee paid by
      all students, and the remaining fees are campus-based fees that
      are unique to each respective UC campus.




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      to campus, and closing most campus facilities. The UC System’s
      directives were not clear about the scope of the campus closures
      or how long the closures and transition to remote learning would
      last. On March 19, 2020, the UC System’s President confirmed
      all schools had moved solely to remote instruction. Individual
      UC System schools also announced the Spring 2020 session
      would be remote by March 19, 2020.3
             Classes for all three plaintiffs were to start on March 30,
      2020. March 30, 2020, was also the deadline for students to
      withdraw from the academic session and receive a full refund.
      After the change to remote learning, plaintiffs were involuntarily
      transitioned to online classes, were barred from going to campus,
      and were no longer able to avail themselves of other on-campus
      activities.
             The UC System initially asserted it would continue
      charging tuition and mandatory system and campus-based fees
      for all enrolled students for the Spring 2020 session. On June 29,
      2020, the UC System President sent a letter to the schools asking
      each to analyze their Spring 2020 campus-based fees and, where
      appropriate and feasible, to issue refunds or their equivalents.
      The letter provided the individual schools with a set of guiding
      principles they were to use in conducting their analyses of the
      campus-based fees and stated that after an analysis, “you may
      move forward with enacting a policy . . .” regarding the refunds.


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            The academic calendars for all ten UC campuses, which
      were judicially noticed by the trial court, state UC Berkeley and
      UC Merced operated on a semester basis during the relevant
      time period and all other campuses were on a quarter system.




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      Plaintiffs allege they did not receive any pro-rated payment from
      the Regents for the fees and tuition they paid for the Spring 2020
      and later remotely-conducted sessions.

            B.      This Litigation
            In April 2020, Sean Stoffel and Luis Peña filed a class
      action complaint against the Regents alleging breach of contract
      based on the UC System’s change to remote learning and closure
      of campus facilities while continuing to charge students full
      tuition and fees at the start of the COVID-19 pandemic. Other
      students filed similar suits, all the cases were coordinated, and
      plaintiffs filed a consolidated class action complaint in March
      2021. As we proceed to detail, the consolidated class action
      complaint alleges causes of action for breach of contract, unjust
      enrichment, and conversion; the Regents demurred to the
      complaint; and the trial court sustained the demurrer to the
      complaint and dismissed the action.

                   1.      The operative complaint
             Plaintiffs filed a first amended consolidated class action
      complaint (the operative complaint) in September 2021 that
      alleges a breach of express contract claim, a breach of implied-in-
      fact contract for tuition claim, a breach of implied-in-fact contract
      for fees claim, and a quasi-contract claim.
             As pertinent to the only causes of action that are at issue
      on appeal—the causes of action for breach of an implied contract
      for tuition and for fees—the operative complaint alleges plaintiffs
      entered into implied-in-fact contracts with the Regents. Those
      contracts provided plaintiffs would pay tuition and fees and the
      Regents would provide an in-person, on-campus education




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      (including services like access to on-campus facilities). The
      contracts were created when plaintiffs accepted their offers of
      enrollment and were further affirmed each academic session
      through course registration and payment of bills, among other
      things. The terms of the contracts were evidenced by the UC
      System’s academic catalogs, student handbooks, marketing
      materials and other publications, and the UC System’s course of
      dealing. Plaintiffs performed their obligation under the contract
      by paying their fees and tuition, but the Regents did not provide
      the in-person and on-campus services for which plaintiffs paid—
      thereby breaching the contracts.
             Plaintiffs allege they were damaged financially by the
      Regents’ breach because the Regents did not deliver the
      educational services, facilities, access, or opportunities for which
      plaintiffs and the class members contracted and paid. The
      Regents instead provided an alternative, materially different
      product, which deprived plaintiffs and class members of access to
      materials, faculty, library facilities, laboratory facilities, activity
      facilities, and the opportunity for collaborative learning and in-
      person dialogue, feedback, and critique.

                   2.    The Regents’ demurrer and the trial court’s
                         ruling
            The Regents demurred to the operative complaint. As
      pertinent for our purposes, the Regents argued plaintiffs had not
      identified any specific promise for on-campus instruction and
      accepted the Spring 2020 quarter would be remote prior to the
      deadline to withdraw. The Regents also asserted that claims
      regarding the campus-based fees could not be brought through a
      breach of contract action because of the ongoing administrative




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      review process occasioned by the UC System President’s letter to
      the schools directing an analysis of the feasibility of fee refunds.
      The Regents further contended a policy it previously adopted,
      Regents Policy 3101, barred plaintiffs’ contract claims because
      the policy gives the Regents discretion to set fees and tuition at
      any level they deem appropriate based on a full consideration of
      the circumstances.4
             The trial court sustained the demurrer without leave to
      amend. The court found plaintiffs had not sufficiently alleged a
      specific promise of in-person, on-campus education, which was
      required to state a valid cause of action for an implied contract
      between a student and university. The trial court specifically
      found none of the UC System marketing materials and
      publications included a specific promise for an on-campus
      instruction or experience or a specific promise to keep students
      on campus during a pandemic despite government orders
      prohibiting physical gathering.
             Regarding catalogs and course schedules, the trial court
      found plaintiffs had not pointed to any statement that on-campus
      instruction in the locations identified was guaranteed. Instead,
      the court found, general disclaimers included in the course
      catalogs stated all courses and related details were subject to
      change without notice. The court also found the plaintiffs’ billing


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             The Regents also filed a motion to strike the operative
      complaint and sought judicial notice of a variety of documents
      reflecting UC System announcements and policies, among other
      things. The trial court granted the request for judicial notice in
      its entirety and denied the motion to strike as moot.




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      statements did not contain any explanations or promises that
      plaintiffs would receive in-person instruction.
             As to fees, the trial court found most of the fees identified
      were campus-based fees, the Regents had instituted an
      administrative review process to determine whether the fees
      warranted refunds, and plaintiffs had not pled exhaustion of the
      procedure. The court thus concluded claims for refunds of those
      fees could not be brought through a breach of contract action. As
      to the student services fee in particular, the trial court found it
      came with no associated specific promise of any particular on-
      campus service.
             The trial court also rejected as insufficient plaintiffs’
      allegation that defendant had a usual and customary practice of
      providing in-person classes and on-campus services and had
      previously provided those services to plaintiffs. The court
      believed that allegation merely described what defendant had
      done in the past, not what it promised to do in the future.
             In addition, the trial court concluded all plaintiffs had
      agreed to enroll and paid tuition knowing they would not receive
      on-campus instruction. The court contended the operative
      complaint’s allegation that the UC System was not clear about
      the scope or duration of campus closures by mid-March 2020 was
      contradicted by the Regents’ judicially noticeable evidence that
      all students were notified the entire spring term would be remote
      before the March 30, 2020 withdrawal deadline. In so finding,
      the trial court rejected plaintiffs’ contention that they initiated a
      multi-year contract for in-person classes when they were first
      admitted because plaintiffs had not alleged the Regents
      specifically promised it would never change to exclusively online
      instruction in any future term. Rather, the UC System charged




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      fees separately prior to each academic term and each student had
      a choice before each term whether or not to pay.

                               II. DISCUSSION
             This case comes to us only at the initial demurrer stage of
      litigation and we hold plaintiffs adequately allege claims for
      breach of implied contract sufficient to survive demurrer. The
      only element of an implied contract claim that is in question here,
      i.e., whether the provision of an in-person, on-campus education
      was a term of the contract, is satisfied by plaintiffs’ allegations
      regarding the UC System’s statements in marketing materials,
      course catalogs, and class schedules. The Regents will of course
      be free to assert substantive defenses as the litigation progresses,
      but their arguments for dismissal of the case at this stage are
      unpersuasive. Reversal is accordingly required.

             A.    Standard of Review
             “‘Because the function of a demurrer is to test the
      sufficiency of a pleading as a matter of law, we apply the de novo
      standard of review in an appeal following the sustaining of a
      demurrer without leave to amend. [Citation.] We assume the
      truth of the allegations in the complaint, but do not assume the
      truth of contentions, deductions, or conclusions of law.’” (United
      Talent Agency v. Vigilant Ins. Co. (2022) 77 Cal.App.5th 821,
      829.) “[T]he allegations of the complaint must be read in the
      light most favorable to the plaintiff and liberally construed with a
      view to attaining substantial justice among the parties.” (Venice
      Town Council v. City of L.A. (1996) 47 Cal.App.4th 1547, 1557.)
      “‘“We also consider matters which may be judicially noticed.”
      [Citation.] Further, we give the complaint a reasonable




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      interpretation, reading it as a whole and its parts in their
      context. [Citation.] When a demurrer is sustained, we determine
      whether the complaint states facts sufficient to constitute a cause
      of action. [Citation.]’ [Citation.]” (Zelig v. County of Los Angeles
      (2002) 27 Cal.4th 1112, 1126.)

            B.      Plaintiffs Sufficiently Allege a Breach of Implied
                    Contract for Tuition
                    1.      The relationship between a university and its
                            students
             “‘[B]y the act of matriculation, together with payment of
      required fees, a contract between the student and the institution
      is created . . . .’ [Citation.]”5 (Andersen v. Regents of Univ. of Cal.


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             There are circumstances in which courts apply contract law
      flexibly to contracts between universities and their students in
      recognition of the fact that “[u]niversities are entitled to some
      leeway in modifying their programs . . . to exercise their
      educational responsibility properly.” (Kashmiri, supra, 156
      Cal.App.4th at 824-825.) Those are not the circumstances
      presented by this appeal, however, where the question “does not
      involve what is essentially an educational malpractice claim or a
      decision that involves disciplinary discretion.” (Id. at 826.)
             We note that the Regents’ briefs in this court could be
      generously read to hint that the law should not be so. But the
      Regents never actually argue they cannot be liable on a contract
      theory or that Kashmiri, supra, 156 Cal.App.4th 809, was
      wrongly decided. Instead, they present only a vague,
      undeveloped assertion that Kashmiri’s “specific promise”
      requirement should be “rigorous[ly] appl[ied].” Precisely what
      that means is left unclear, but what is clear is that any claim
      that Kashmiri does not state the controlling principles for proper




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      (1972) 22 Cal.App.3d 763, 769.) Where, as here, there is no
      express contract between the Regents and the student, “an
      implied contract was created by the students’ conduct when they
      accepted the [Regents’] offer of enrollment.” (Kashmiri, supra,
      156 Cal.App.4th at 829; see also Civ. Code § 1621 [“[a]n implied
      contract is one, the existence and terms of which are manifested
      by conduct”].)
            “The essential elements of a claim of breach of contract,
      whether express or implied, are the contract, the plaintiff's
      performance or excuse for nonperformance, the defendant's
      breach, and the resulting damages to the plaintiff.” (Green Valley
      Landowners Assn. v. City of Vallejo (2015) 241 Cal.App.4th 425,
      433.) “As to the basic elements [of mutual assent and
      consideration], there is no difference between an express and
      implied contract.” (Division of Labor Law Enforcement v.
      Transpacific Transportation Co. (1977) 69 Cal.App.3d 268, 275.)

                  2.     Plaintiffs sufficiently allege an implied contract
                         to provide an in-person and on-campus
                         educational experience
            A university can be liable for breach of a contract with its
      students if it “ma[de] a specific promise to provide an educational
      service,” but did not provide it. (Kashmiri, supra, 156
      Cal.App.4th at 826.) Statements in the catalogs and website of a
      university may be binding on the university if the university
      expressly states it intends to be bound by them, or if the
      statements are implied-in-fact contract provisions. (Kashmiri,


      resolution of this appeal or that the case is somehow analytically
      incomplete is forfeited for failure to adequately present the issue.




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      supra, at 826; see also Zumbrun v. University of Southern
      California (1972) 25 Cal.App.3d 1, 10.) “[L]ike all obligations
      imposed pursuant to implied contractual terms, the contractual
      obligations imposed by the language in catalogues “‘center
      around what is reasonable.’ [Citations.]” (Kashmiri, supra, at
      829.) “To determine the reasonable expectation of the parties we
      examine ‘the totality of the circumstances . . . . Agreement may
      be “‘shown by the acts and conduct of the parties, interpreted in
      the light of the subject matter and of the surrounding
      circumstances.’”’ [Citation.]” (Id. at 832.) “The reasonableness of
      the student’s expectation is measured by the definiteness,
      specificity, or explicit nature of the representation at issue.”
      (Ibid.)
             Here, plaintiffs alleged the UC System promoted its in-
      person, on-campus educational experience in its marketing
      materials. Those materials include UCLA’s statement that
      “[l]earning occurs not only in the classroom, but also through
      engagement in campus life” and its assertion that residence halls
      are not far from “classes”; UCSB’s touting of both “[c]lassroom
      learning” and “undergraduate research in labs, libraries, studios,
      and in the field”; UC Irvine’s declaration that “[i]ndependent
      research in laboratories, field study, participation in writing
      workshops, and in arts production are normal elements of the
      UCI experience”; and UCSD’s statement that its “academic
      programs . . . are focused on linking classroom instruction with
      relevant, real-world experiences . . . .” Plaintiffs also allege that
      when they registered for classes, they viewed course catalogs that
      identified specific buildings and room numbers in which the
      classes would be taught. The registration process allowed
      students to differentiate between classes taught online and those




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      taught in person. And after registration, students received
      schedules reflecting the building and room number assigned to
      the course. Chen’s UCLA schedule for the Spring 2020 session,
      in particular, expressly stated that all classes would be taught on
      campus.
            Reading the operative complaint’s allegations in the light
      most favorable to plaintiffs, we conclude they have sufficiently
      alleged the Regents made a specific promise to provide an in-
      person, on-campus education. The UC System’s emphasis on the
      value of its in-person and on-campus offerings is threaded
      throughout portions of its marketing materials, and that,
      combined with the course catalogs and other writings mentioned
      in the operative complaint, amount to definite statements
      regarding the nature of the education it agreed to provide: an in-
      person, on-campus education. As a result, the reasonable
      expectations of the parties would be that once a student accepted
      the Regents’ offer to enroll and paid tuition, the Regents would
      provide an in-person, on-campus education.
            We are, in other words, unpersuaded by the Regents’
      contention that, after making the representations in its
      marketing materials and other publications, they had (and
      presumably continue to have) discretion to switch—without
      consequence or means of redress—from an in-person, on-campus
      educational program to an online-only experience at any time.
      Admitted students choose to enroll at, for example, UCLA for the
      entirety of the educational experience they had been offered,
      including learning “not only in the classroom, but also through
      engagement in campus life.” Under the Regents’ reasoning, a
      student who enrolled at and paid for UCLA would have no claim
      for breach of contract if the Regents decided, without notice, to




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      offer them only the online experience they would receive from the
      University of Phoenix. That cannot be. The Regents may have
      valid affirmative defenses to the breach of contract claims (an
      issue on which we express no view), but those defenses are not at
      issue at this stage of the litigation. The only question before us is
      whether operative complaint sufficiently alleged the provision of
      in-person, on-campus education was a term of their implied
      contract with the Regents. As we have explained, it does.6
             The Regents offer several counterarguments, but none is
      persuasive.
             The Regents argue plaintiffs forfeited their ability to rely
      on UC System marketing materials and publications because


      6
             Because we determine plaintiffs sufficiently allege the
      Regents made a specific promise to provide an in-person, on-
      campus education through its marketing and other written
      materials, we do not rely on plaintiffs’ allegations that the UC
      System had a 100-year custom and practice—of which plaintiffs
      were well aware—of providing an on-campus education in
      exchange for payment of tuition and fees. Obviously, however,
      that history if combined with the allegations on which we do rely
      could only bolster the conclusion that a breach of an implied
      contract has been adequately alleged. Neither the operative
      complaint nor the judicially noticed materials disclose any terms
      contrary to plaintiffs’ cited custom. (Varni Bros. Corp. v. Wine
      World, Inc. (1995) 35 Cal.App.4th 880, 889 [custom and usage
      may imply terms when no contrary intent appears from the terms
      of the contract]; see also Kashmiri, supra, 156 Cal.App.4th at 828
      [noting that courts in other states had found custom and usage
      could become specific terms by implication, but not expressing a
      view on the appropriateness of such findings one way or the
      other].)




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      they did not specifically quote language from those statements in
      their opening brief. That misunderstands forfeiture doctrine,7
      and forfeiture is in any event a discretionary concept. We have
      cited examples, found in the appellate record, of UC System
      statements amounting to specific promises to explain our holding,
      but the sufficiency of plaintiffs’ pleading itself is what is at issue
      and we hold its implied contract causes of action are sufficiently
      stated.
             The Regents also argue the locations identified in UC
      System course catalogs and course registration process were
      merely indicative of its general plan, not a specific promise to
      provide in-person instruction. Taken alone, the identification of a
      classroom location may well be insufficient to constitute a specific
      promise for in-person education. But the complaint here alleges
      the course catalogs ubiquitously identified physical locations at
      which classes were to be held, which, in the context of the UC
      System’s other statements promoting in-person education,
      supports the allegation that the Regents specifically promised in-

      7
            The Regents conflate authority regarding a failure to
      discuss an issue in an opening brief (which plaintiffs did not do)
      with authority regarding a failure to identify specific terms in a
      complaint alleging the breach of an express contract (which says
      nothing about the requirements for an appellate brief). Plaintiffs’
      opening brief cites to the pages in the appellate record and the
      specific paragraphs in their operative complaint on which they
      relied. The Regents cite no authority (nor are we aware of any)
      holding an appellant is required to quote all pertinent language
      from their underlying complaint in their appellate briefs. Good
      thing too—that would just result in submission of briefs even
      longer than they already are.




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      person instruction. (See, e.g., Saroya v. Univ. of the Pacific
      (N.D.Cal. 2020) 503 F.Supp.3d 986, 997; In re Univ. of San Diego
      Tuition & Fees Covid-19 Refund Litig. (S.D.Cal. Mar. 30, 2022,
      No. 20cv1946-LAB-WVG) 2022 U.S.Dist. LEXIS 59220, *11-15;
      Arredondo v. Univ. of La Verne (C.D.Cal. Apr. 21, 2021, No. 2:20-
      cv-07665-MCS-RAOx) 2021 U.S.Dist. LEXIS 78314, *5.)
             After the close of briefing, the Regents additionally filed a
      supplemental authority notice calling to our attention a recent
      opinion from the First District Court of Appeal, Berlanga v.
      University of San Francisco (2024) 100 Cal.App.5th 75, that
      affirms a summary adjudication order in the defendant
      university’s favor. (Id. at 90.) Although Berlanga involves a
      facially similar claim that a university breached a contract to
      provide students with in-person instruction during the COVID-19
      pandemic, the Berlanga opinion differs from the present appeal
      in two important ways.
             First, Berlanga addressed the viability of the plaintiffs’
      case for purposes of the university’s motion for summary
      adjudication, not, as here, the sufficiency of a plaintiff’s
      allegations to survive a demurrer (which must be taken as true).
      (Berlanga, supra, 100 Cal.App.5th at 80-82.) Second, and more
      fundamentally, the university statements upon which the
      student-plaintiffs in Berlanga based their claims were
      exceedingly general and quite unlike the university statements
      plaintiffs rely on in their operative complaint here. The Berlanga
      plaintiffs, for instance, alleged their university somehow made
      actionable promises of in-person instruction through statements
      in their admissions letters that the students would ‘“join a
      dynamic student body,”’ ‘“develop amazing friendships,”’ and ‘“be
      surrounded by the best city ever”’; by inviting the students to




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      ‘“admitted student visit days . . . to . . . experience the richness of
      our university”’; by stating the university’s president ‘“look[ed]
      forward to greeting [them] on campus”’; and by identifying the
      physical location of in-person classes in various documents. (Id.
      at 80, 84.) Such statements are obviously insufficient to establish
      a specific promise of in-person or on-campus instruction.
             By contrast, plaintiffs here combine their reliance on
      statements identifying the physical location at which courses
      would be held with allegations in the operative complaint
      concerning the universities’ marketing statements that are
      markedly more specific than those in Berlanga. The statements
      cited by plaintiffs here, unlike those in Berlanga, emphasize the
      import of classroom learning and on-campus experiences as part
      of the educational process, e.g., as in the case of the UCSB
      marketing statements, “undergraduate research in labs,
      libraries, studios, and in the field.” The basis for an implied-in-
      fact contract here is therefore quite different—and remains viable
      at this early stage of the proceedings—than the vague promises
      of potential interpersonal relationships and generic statements
      about the University of San Francisco’s physical campus that the
      Berlanga court found wanting.

                  3.    The promise to provide an in-person, on-campus
                        education extended for the duration of an
                        academic session
            Having concluded plaintiffs sufficiently alleged the Regents
      promised them an in-person, on-campus education, we must also
      determine the duration of the promise. Plaintiffs primarily
      contend the Regents’ offer of an in-person education was one that
      extended for the entirety of a student’s enrollment. The




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      operative complaint, however, identifies no language promising
      to provide an in-person education for that entire period. The
      duration of the promise is thus uncertain.
             ‘“If the terms of a promise are in any respect ambiguous or
      uncertain, it must be interpreted in the sense in which the
      promisor believed, at the time of making it, that the promisee
      understood it. [Citation.] [¶] Thus, we look to the reasonable
      expectation of the parties at the time of contract. To determine
      the reasonable expectation of the parties, we examine ‘the totality
      of the circumstances . . . .’ [Citation.]” (Kashmiri, supra, 156
      Cal.App.4th at 831-832; see also Civ. Code §§ 1636, 1649.)
             Here, while a student who is offered admission to a
      university is granted the opportunity to earn a degree over a
      course of years (assuming the student complies with and satisfies
      university requirements), students do not pay for an entire
      program’s worth of tuition upon matriculation. Rather, as
      alleged in the operative complaint, their contract with the
      university is “affirmed . . . each academic session” through the
      process of course registration, billing, and payment.
             Prior to the commencement of each academic session, the
      Regents extended plaintiffs an offer to continue their education
      on the terms the Regents offered—by billing plaintiffs and
      allowing them to register for courses—and plaintiffs accepted the
      offer by their conduct—by paying their fees and tuition. Thus,
      plaintiffs do adequately allege provision of an in-person, on-
      campus education was a term of their implied contract for the
      Spring 2020 session. The natural consequence of this conclusion,
      however, is that plaintiffs have only stated their claim as to the
      Spring 2020 session. At the time they paid tuition for any
      subsequent sessions, they were aware the UC System had




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      changed to remote learning in March 2020 and thereby accepted
      they would not receive an in-person, on-campus experience.
      Accordingly, the trial court was correct insofar as it concluded
      plaintiffs have not stated a valid claim for breach of contract for
      any sessions after Spring 2020. (See, e.g., Berlanga, supra, 100
      Cal.App.5th at 87-88 [students could not have reasonably
      believed university promised to provide in-person instruction for
      Fall 2020 and Spring 2021 semesters, and had not identified
      contract for in-person instruction for those semesters, where
      students were notified the semesters would be remote before
      tuition was due].)
              Plaintiffs’ contrary contention, that the Regents’ promise
      for in-person, on-campus learning extended throughout the
      duration of each plaintiff’s enrollment, is unavailing. In support
      of this argument, they rely on Kashmiri for the proposition that a
      university may make promises that last throughout a student’s
      entire enrollment. While this was true in the circumstances
      presented in Kashmiri, they are not true under the circumstances
      here. In Kashmiri, the promise upon which the students relied
      expressly stated the fee in question would ‘“remain the same for
      each student for the duration of his or her enrollment in
      the . . . program.”’ (Kashmiri, 156 Cal.App.4th at 833.) Here,
      unlike in Kashmiri, none of the statements plaintiffs identify
      articulate a duration. Under the facts as alleged in the operative
      complaint, plaintiffs could not have reasonably expected that the
      Regents’ promise extended the entire duration of their
      enrollment.




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                  4.      At a minimum, Boutros did not accept the terms
                          of remote instruction for Spring 2020
             In light of our determination that plaintiffs sufficiently
      alleged the existence of an implied promise to provide an in-
      person, on-campus education for the Spring 2020 session, we next
      consider whether plaintiffs, as the trial court concluded, accepted
      remote learning by choosing not to withdraw from further
      education at their respective UC campuses.
             Among the many documents of which the trial court took
      judicial notice were the statements from UC System officials
      announcing the decision to transition to remote learning in mid-
      March 2020. The documents reflect all campuses announced by
      March 19, 2020, that classes would be conducted by remote
      instruction for the duration of the Spring 2020 sessions. The
      allegations in the complaint as to plaintiffs Chen and Pham
      allege they paid tuition prior to attending classes in Spring 2020.
      Because the complaint also alleges classes commenced on March
      30, it is unclear whether Chen and Pham had paid their tuition—
      and thus accepted the pre-COVID terms of education—prior to
      the date on which UC System schools gave notice that the Spring
      2020 session would be remote. The allegations as to plaintiff
      Boutros, however, are more detailed; the complaint alleges she
      paid her tuition and fees on February 27, 2020. The complaint
      thus sufficiently alleges Boutros, at least, accepted the terms of
      the implied contract prior to the UC System’s announcement that
      it was transitioning to remote learning, and has accordingly
      stated a claim for breach of contract as to the Spring 2020
      session.
             In reaching this determination, we respectfully disagree
      with the trial court’s conclusion that the relevant date for




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      determining whether the students accepted remote learning for
      the Spring 2020 session was the deadline to withdraw from
      classes and receive a refund. As the court in Kashmiri explained,
      “the students paid their bills to take classes and receive an
      education, not to be entitled to a refund.” (Kashmiri, supra, 156
      Cal.App.4th at 847.) The students accepted the bargain offered
      by the Regents by the act of paying their tuition, not by the act of
      declining to withdraw.

                  5.      Regents Policy 3101 does not bar plaintiffs’
                          claims as a matter of law
             Regents Policy 3101 provides that “The Regents expressly
      reserve the right and option, in its [sic] absolute discretion, to
      establish tuition or fees at any level it deems appropriate based
      on a full consideration of the circumstances . . . .”8 The Regents
      contend this reservation of rights gives them discretion to decide
      whether unanticipated pandemic changes warranted refunds,
      and that in context, no statement on a website or catalog could
      reasonably be construed as the requisite “specific promise”
      necessary to establish an implied contract formed between the
      parties. We do not read the policy so expansively. The policy
      provides the Regents with discretion “to establish” tuition and
      fees at levels it deems appropriate. The Regents did so prior to
      billing plaintiffs for the Spring 2020 session, and plaintiffs


      8
            “[P]olicies established by the Regents according to their
      constitutionally derived rulemaking and policymaking
      power . . . have the force and effect of statute.” (Akella v. Regents
      of University of California (2021) 61 Cal.App.5th 801, 817.)




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      assented to those tuition and fees by paying their Spring 2020
      bills. The policy says nothing about granting the Regents the
      authority to retroactively change the terms of any implied
      contracts it offered students. Indeed, under the interpretation
      urged by the Regents, they could offer any service they chose, no
      matter the promises they made before accepting payment for
      those services, and then simply declare whatever tuition and fees
      were charged and paid were appropriate in its discretion. This is
      untenable. While it is true that the Regents have broad
      discretion in many areas, they do not have unfettered discretion
      to avoid contract liability for its actions.

            C.     Plaintiffs Sufficiently Alleged a Breach of Implied
                   Contract for Fees
            Plaintiffs also sufficiently alleged an implied promise for
      on-campus services. The operative complaint alleges the UC
      System provides on-campus services to students, including
      campus libraries, student centers, gyms, counseling centers,
      health clinics, and sports complexes. It also alleges the UC
      System made marketing statements highlighting those on-
      campus services, like UCLA’s touting of “campus life,” UCSD’s
      focus on its “unique campus-wide events,” UCSB’s promotion of
      “undergraduate research in labs, libraries, and studios,” and the
      statements centered on the availability and ubiquity of student
      organizations. And plaintiffs allege that in addition to being
      charged for tuition, they were charged for various fees, including
      a student services fee for “services that benefit the student” and
      campus-based fees such as the campus activity fee to support
      “student activities on campus” charged by UCSD. Again, reading
      the allegations in the light most favorable to plaintiffs, we




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      conclude this is sufficient to allege a specific promise for on-
      campus services.
             The UC System President’s June 2020 letter asking UC
      System schools to consider issuing partial refunds of the campus-
      based fees does not establish plaintiffs were required to exhaust
      administrative remedies before bringing this claim in court.
      “There are important limits to the exhaustion doctrine. Among
      them, we have declined to impose an exhaustion requirement
      when a purported administrative remedy did not incorporate
      ‘clearly defined machinery for the submission, evaluation and
      resolution of complaints by aggrieved parties.’ [Citations.]” (Hill
      RHF Housing Partners, L.P. v. City of Los Angeles (2021) 12
      Cal.5th 458, 479.) Though the Regents assert the June 2020
      letter triggered a “complex administrative process,” and though
      the Regents asked the trial court to take judicial notice of a
      plethora of documents, the record is devoid of any further
      information regarding the purported administrative process. It
      does not reflect any “machinery for the submission, evaluation
      and resolution of complaints” by plaintiffs or other students.
      Accordingly, based on the limited information regarding the
      refund process, there is no reason to require exhaustion here.9
             The Regents further argue the descriptions of the fees
      charged to students were “general plan[s]” rather than specific


      9
            We are also skeptical of the assertion that plaintiffs were
      required to exhaust a process that did not exist when the initial
      complaint in this matter was filed. (See Myers v. Philip Morris
      Companies, Inc. (2002) 28 Cal.4th 828, 840 [“Generally, statutes
      operate prospectively only”].)




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      promises made to the students. In so arguing, the Regents
      contend plaintiffs needed to have alleged a specific promise for
      the provision of a particular service was made in connection with
      each individual fee. The argument, however, is too granular for
      this stage of the litigation. Plaintiffs have sufficiently alleged
      that the Regents specifically promised them an on-campus
      educational experience and that they paid fees for on-campus
      services. Plaintiffs do not allege the fees were used improperly.
      Rather, they allege they did not receive the benefit of their
      bargain with the Regents when paying the fees. That suffices to
      survive the Regents’ demurrer on that score.




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                                DISPOSITION
            The judgment dismissing plaintiffs’ operative complaint is
      vacated. The cause is remanded for further proceedings
      consistent with the views expressed in this opinion, including our
      holding that at least one plaintiff has sufficiently stated an
      implied breach of contract claim for tuition and fees for the
      Spring 2020 session. Plaintiffs are awarded costs on appeal.


          NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                             BAKER, Acting P. J.

      We concur:



            KIM, J.



            LEE, J.*




      *
            Judge of the San Bernardino County Superior Court,
      assigned by the Chief Justice pursuant to Article VI, section 6 of
      the California Constitution.




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